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                 IN THE UNITED STATES DISTRICT COURT FOR
                      THE SOUTHERN DISTRICT OF GEOSfKi^PR 1^ Aii ihS^
                             SAVANNAH DIVISION
UNITED STATES OF AMERICA                                                      i-.,      tr b/U


                                                          CASE NO. 4:14-cr-00022-5


Sherone McBride


      Defendant.




                                       ORDER


      Defendant McBride has filed a Motion for Sentence Reduction

Pursuant to 18 U.S.C. § 3582(c) and Amendment 782 to the United

States Sentencing Guidelines.

      In the case of a defendant who has been sentenced to a term

of   imprisonment         based       on        a     sentencing        range               that         has

subsequently      been    lowered          by       the     Sentencing        Commission,                    18

U.S.C.     §   3582(c)(2)     allows       the       Court    to    reduce           that         term       of

imprisonment.

      On   December      8,   2014,    the          Court    sentenced        Defendant                 to   a

total term of 110 months custody following his plea of guilty to

conspiracy       to   possess     with              intent     to    distribute                    cocaine

hydrochloride, cocaine base, and marihuana.                            Amendment 782 was

effective on November 1, 2014, prior to Defendant's sentencing

date.      Defendant's presentence investigation report was in fact

amended on November 1, 2014, to incorporate the provisions of

Amendment      782.      As   such.    Defendant             received        the          benefit            of

Amendment 782 at sentencing.
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